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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION


 UNITED STATES OF AMERICA

 VS.                                                    CASE NO: 6:17-cr-187-Orl-37TBS

 JAMES MOORE

  JUDGE:            Roy B. Dalton, Jr.                  COUNSEL FOR      Scott C Rask
                                                        GOVERNMENT:
  DEPUTY CLERK:     Landon Countryman

  COURT REPORTER:   Amie First                          COUNSEL FOR      David M. Garvin
                    amiefirst.courtreporter@gmail.com   DEFENDANT:
  SCHEDULED         April 16, 2018                      INTERPRETER:     N/A
  DATE/TIME:        1:30 PM


                                         MINUTES

  1:29 pm           Case called; appearances made by counsel.
                    Court addresses concerns regarding restitution in this matter.
                    Court directs Government to file brief regarding restitution – 14 days to
                    file brief.
                    Defendant is to respond to brief within 21 days of filing.
                    Government makes argument as to appropriate sentence
                    Victim M.R. addresses the court.
                    Individuals J.M., B.M., and S.C. address the court in support of defendant.
                    Defense counsel makes argument as to appropriate sentence.
                    Defendant makes allocution.
                    Court to take argument under advisement. Sentencing is continued until
                    after the parties have filed the brief/response.
  2:39 pm           Sentencing continuation to be set by separate notice. Court adjourns.
                    Total time in court: 1/10
